 Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 1 of 37 Page ID
                                 #:13869


 1   SCOTT EDELMAN, SBN 116927                     STANLEY SALTZMAN, SBN 90058
      sedelman@gibsondunn.com                       ssaltzman@marlinsaltzman.com
 2   JESSE CRIPPS, SBN 222285                      ADAM TAMBURELLI, SBN 301902
 3    jcripps@gibsondunn.com                        atamburelli@marlinsaltzman.com
     GIBSON, DUNN & CRUTCHER LLP                   MARLIN & SALTZMAN
 4   2029 Century Park East, Suite 4000            29800 Agoura Road, Suite 210
     Los Angeles, CA 90067                         Agoura Hills, California 91301
 5   Telephone: 310.552.8500                       Telephone: (818) 991-8080
 6   Facsimile: 310.551.8741                       Facsimile: (818) 991-8081

 7   BRAD SCHWAN, SBN 246457
      bschwan@littler.com                          Attorneys for Plaintiffs
 8   FATEMEH S. MASHOUF, SBN 288667                GERARDO ORTEGA AND
                                                   MICHAEL D. PATTON
     fmashouf@littler.com
 9   LITTLER MENDELSON, P.C.
10   2049 Century Park East, 5th Floor
     Los Angeles, CA 90067.3107
11   Telephone: 310.553.0308
     Facsimile: 310.553.5583
12
     ATTORNEYS FOR DEFENDANT J.B.
13   HUNT TRANSPORT, INC.
14
                           UNITED STATES DISTRICT COURT
15
                          CENTRAL DISTRICT OF CALIFORNIA
16
17   GERARDO ORTEGA, AND                        Case No. 2:07-cv-08336-RGK-SH
     MICHAEL D. PATTON, individually
18   and on behalf of themselves, all others    HONORABLE JUDGE R. GARY
     similarly situated, and the general        KLAUSNER
19   public,
                                                JOINT EXHIBIT LIST
20                  Plaintiffs,
21
     v.
22
     J.B. HUNT TRANSPORT, INC., an              Pretrial Conference: September 4, 2018
23   Arkansas corporation; and DOES 1 to        Trial: September 25, 2018
     100, inclusive,
24
25                   Defendants.

26
27
                                       JOINT EXHIBIT LIST
28                                 Case No. 07-CV-8336 RGK (AFMx)
 Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 2 of 37 Page ID
                                 #:13870


 1         In accordance with the Court’s Order for Jury Trial (Dkt. 197) and Local Rule
 2   16-6, Plaintiffs GERARDO ORTEGA and MICHAEL D. PATTON (“Plaintiffs”) and
 3   Defendant J.B. HUNT TRANSPORT, INC. (collectively, the “Parties”), hereby
 4   submit the following Joint Exhibit List attached hereto as Appendix A.
 5
 6    Dated: August 14, 2018                        /s/ Adam Tamburelli
 7                                                  Adam Tamburelli, Esq.
                                                    MARLIN & SALTZMAN
 8                                                  Attorneys for Plaintiffs Gerardo
                                                    Ortega and Michael D. Patton
 9
10
     Dated: August 14, 2018                         /s/ Scott A. Edelman
11
                                                    Scott A. Edelman
12                                                  GIBSON, DUNN & CRUTCHER
                                                    LLP
13                                                  Attorneys for Defendant J.B. HUNT
                                                    TRANSPORT, INC.
14
15
                                 SIGNATURE ATTESTATION
16
           I, Scott A. Edelman, am the ECF user whose identification and password were
17
     used to file this Joint Exhibit List. In compliance with United States District Court,
18
     Central District of California Local Rule 5-4.3.4(a)(2)(i), I hereby attest that all
19
     signatories hereto concurred in and authorized this filing.
20
21
                                                    /s/ Scott A. Edelman
22
23
24
25
26
27                                      JOINT EXHIBIT LIST
                                   Case No. 07-CV-8336 RGK (AFMx)
28
                                                1
      Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 3 of 37 Page ID
                                                  #:13871
                                  APPENDIX A: JOINT EXHIBIT LIST
                Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)


Trial                  Description                      Bates Range /       If         Date    Date
 Ex.                                                       Source        Objection,    ID’d   Admit.
 No.                                                                       State
                                                                         Grounds
 1*      03/14/2002 Memo from South Gate                JBH-DP05300     D: FRE 402
         Management Team Regarding Activity                             (relevance),
         Based Pay                                                      FRE 403
                                                                        (confusing,
                                                                        misleading,
                                                                        prejudice).
 2*      02/15/2002 ABP Transition Memo (South          JBH-DP60760-    D: FRE 402
         Gate Intermodal)                               JBH-DP60763;    (relevance),
                                                                        FRE 403
                                                                        (confusing,
                                                                        misleading,
                                                                        prejudice).
 3       01/01/2003 JB Hunt Driver Manual               JBH-DP02037-
                                                        JBH-DP02140
 4       06/01/2005 JB Hunt Driver Manual               JBH-DP02254-
                                                        JBH-DP02365
 5       01/01/2006 JB Hunt Driver Manual               JBH-DP00693-
                                                        JBH-DP00808
 6       07/01/2004 JB Hunt DCS Driver Manual           JBH-DP04316-
         for JC Penney-Buena Park, CA                   JBH-DP04328
 7       04/15/2005 JB Hunt Intermodal Driver           JBH-DP02422-
         Manual-South Gate, CA                          JBH-DP02434
 8       02/02/2006 JB Hunt Intermodal Driver           JBH-DP02435-
         Manual-South Gate, CA                          JBH-DP02447
 9       Undated JB Hunt DCS Pay Sheet for JC           JBH-DP65780-    P: Relevance
         Penney                                         JBH-DP65780     FRE 402;
                                                                        Confusing or
                                                                        Misleading,
                                                                        FRE 403.
 10      Undated JC Penney Driver Training              JBH-DP63889     P: Relevance
         Checklist                                                      FRE 402;
                                                                        Confusing or
                                                                        Misleading,
                                                                        FRE 403.
 11      Undated JB Hunt Activity Based Pay Sheet       JBH-DP 02688-   P: Relevance
                                                        JBH-DP 02688    FRE 402;


                                                    1
      Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 4 of 37 Page ID
                                                  #:13872
                                  APPENDIX A: JOINT EXHIBIT LIST
                Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                   Description                       Bates Range /          If        Date    Date
 Ex.                                                         Source          Objection,    ID’d   Admit.
 No.                                                                           State
                                                                             Grounds
                                                                            Confusing or
                                                                            Misleading,
                                                                            FRE 403.
 12      Driver Vehicle Condition Report with             JBH-DP02696-
         11/25/2003 Sample                                JBH-DP02697
 13      FAQs about Scanning Paperwork                    L. Garcia Dep.
                                                          (Dec. 2008)
                                                          Ex. 38
 14      “How to Make ABP Work for You”                   JBH-DP02549       P: Relevance
         (undated)                                                          FRE 402;
                                                                            Confusing or
                                                                            Misleading,
                                                                            FRE 403.
 15      Activity Based Pay vs. Hourly Pay, written       JBH-DP65778
         by Aaron Regalado (undated)
 16      How to Make Miles at J.B. Hunt                   Patton Dep.
                                                          (July 2008) Ex.
                                                          38
 17      Undated JC Penney Driver Training                JBH-DP63889       P: Relevance
         Checklist                                                          FRE 402;
                                                                            Confusing or
                                                                            Misleading,
                                                                            FRE 403.
 18      Blank Trip Sheet and DOT Log                     JBH-DP02461-
                                                          JBH-DP02462
 19      OmniTRACS Display Unit Illustration              JBH-DP02719-
         dated May 2000                                   JBH-DP02720
 20      OmniTRACS Enhanced Display Unit                  JBH-DP02715-
         Illustration dated May 2002                      JBH-DP02716
 21      OmniTRACS Enhanced Display Unit for              JBH-DP02717-
         the Memory Enhanced IMCT Illustration            JBH-DP02718
         dated May 2002
 22      OmniExpress Display Unit Illustration            JBH-DP02721-
         dated May 2002                                   JBH-DP02722
 23      OmniExpress Enhanced Display Unit                JBH-DP02723-
         Illustration dated May 2005                      JBH-DP02724


                                                      2
      Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 5 of 37 Page ID
                                                  #:13873
                                  APPENDIX A: JOINT EXHIBIT LIST
                Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                   Description                     Bates Range /       If         Date    Date
 Ex.                                                       Source        Objection,    ID’d   Admit.
 No.                                                                       State
                                                                         Grounds
 24      QualComm Basic System Operation                JBH-DP02669

 25      List of Canned Messages                        JBH-DP02636

 26      List of Canned Messages                        JBH-DP02692

 27      List of Canned Messages                        JBH-DP05350

 28      List of Canned Messages                        JBH-DP05593

 29      Fatigue Management 101 (undated)               JBH-DP05336     P: Relevance
                                                                        FRE 402;
                                                                        Confusing or
                                                                        Misleading,
                                                                        FRE 403.
 30      2006 Driver Safety Briefing                    JBH-DP05337-
                                                        JBH-DP05343
 31      Fatigue Management (undated)                   JBH-DP64458     P: Relevance
                                                                        FRE 402;
                                                                        Confusing or
                                                                        Misleading,
                                                                        FRE 403.
 32      New Driver Training Checklist (undated)        JBH-DP02708     P: Relevance
                                                                        FRE 402;
                                                                        Confusing or
                                                                        Misleading,
                                                                        FRE 403.
 33      New Driver Onboarding Training Guide           JBH-DP65717-    P: Relevance
         (Intermodal Drivers) (undated)                 JBH-DP65722     FRE 402;
                                                                        Confusing or
                                                                        Misleading,
                                                                        FRE 403.
 34      Photograph of JB Hunt truck, cargo, and        JBH-DP68858
         worker
 35      Photograph of JB Hunt DCS truck                JBH-DP68859

 36      Photograph of JB Hunt Intermodal trucks,       JBH-DP68860
         cargo




                                                    3
      Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 6 of 37 Page ID
                                                  #:13874
                                  APPENDIX A: JOINT EXHIBIT LIST
                Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                   Description                      Bates Range /         If          Date    Date
 Ex.                                                        Source          Objection,     ID’d   Admit.
 No.                                                                          State
                                                                            Grounds
 37      Photograph of JB Hunt Intermodal trucks,        JBH-DP68861
         cargo
 38      Photograph of JB Hunt trucks and workers        JBH-DP68862

 39      Photograph of JB Hunt truck                     JBH-DP68863

 40      Photograph of JB Hunt DCS worker                JBH-DP68864
         loading/unloading
 41      JB Hunt Driver Training video                   JBH-DP68865       P: Except for
                                                                           the portions
                                                                           of the video
                                                                           that reflect
                                                                           the pre-trip
                                                                           inspection
                                                                           process,
                                                                           Plaintiffs
                                                                           object based
                                                                           on
                                                                           Relevance
                                                                           FRE 402;
                                                                           Confusing or
                                                                           Misleading,
                                                                           FRE 403.
 42      Authorization to Keep Time Records In           Plfs’ Prod. (No
         Lieu of Logs (395.1) (signed by Gerardo         Bates)
         Ortega, 5/5/06)
 43      W-2 statements for Gerardo Ortega for the       JBH-DP02474-
         years 2004 – 2006                               JBH-DP02479
 44      W-2 statement for Michael Patton for the        JBH-DP02480-
         year 2006                                       JBH-DP02481
 45      August 7-11, 2006 Gerardo Ortega Payroll        Plfs’ Prod. (No
         Summary                                         Bates)
 46      2006 Gerardo Ortega Pay Stubs                   Plfs’ Prod. (No
                                                         Bates)
 47      Gerardo Ortega Personnel File                   JBH-DP 00001;
                                                         JBH-DP 00003-
                                                         JBH-DP 00150;
                                                         JBH-DP68800-


                                                     4
      Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 7 of 37 Page ID
                                                  #:13875
                                  APPENDIX A: JOINT EXHIBIT LIST
                Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                   Description                    Bates Range /          If        Date    Date
 Ex.                                                      Source           Objection,   ID’d   Admit.
 No.                                                                         State
                                                                           Grounds
                                                       JBH-DP68850;
                                                       Ortega Dep.
                                                       Exs. 1-2, 5-6, 8-
                                                       17
 48      Michael Patton Personnel File                 JBH-DP 00199-
                                                       JBH-DP 00328;
                                                       Patton Dep.
                                                       (June 2008)
                                                       Exs. 23-25, 28-
                                                       30, 32; Patton
                                                       Dep. (July
                                                       2008) Exs. 34-
                                                       35
 49      Letter to Gerardo Ortega re Request for       Plfs’ Prod. (No
         Medical Leave / Termination                   Bates)
         Gerardo Ortega Settlement Statements,
 50                                                    JBH-DP00965
         With Supporting Documentation When            – JBH-
         Available                                     DP01858; JBH-
                                                       DP002482-
                                                       JBH-DP02483;
                                                       JBH-DP02488-
                                                       JBH-DP02541;
                                                       JBH-DP02725-
                                                       JBH-DP02758;
                                                       JBH-DP68851-
                                                       JBH-DP68854
 51      Gerardo Ortega Activity Sheets                JBH-DP00972;
                                                       JBH-DP00975;
                                                       JBH-DP00977;
                                                       JBH-DP00978;
                                                       JBH-DP01015;
                                                       JBH-DP01017;
                                                       JBH-DP01019;
                                                       JBH-DP01022;
                                                       JBH-DP01025;
                                                       JBH-DP01071;
                                                       JBH-DP01073;
                                                       JBH-DP01075;
                                                       JBH-DP01078;
                                                       JBH-DP01080;


                                                   5
    Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 8 of 37 Page ID
                                                #:13876
                                APPENDIX A: JOINT EXHIBIT LIST
              Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial               Description                Bates Range /      If        Date    Date
 Ex.                                              Source       Objection,   ID’d   Admit.
 No.                                                             State
                                                               Grounds
                                               JBH-DP01141;
                                               JBH-DP01144;
                                               JBH-DP01146;
                                               JBH-DP01178;
                                               JBH-DP01181;
                                               JBH-DP01184;
                                               JBH-DP01187;
                                               JBH-DP01191;
                                               JBH-DP01248;
                                               JBH-DP01251;
                                               JBH-DP01253;
                                               JBH-DP01255;
                                               JBH-DP01257;
                                               JBH-DP01318;
                                               JBH-DP01321;
                                               JBH-DP01323;
                                               JBH-DP01326;
                                               JBH-DP01388;
                                               JBH-DP01391;
                                               JBH-DP01394;
                                               JBH-DP01397;
                                               JBH-DP01438;
                                               JBH-DP01440;
                                               JBH-DP01442;
                                               JBH-DP01445;
                                               JBH-DP01496-
                                               JBH-DP01497;
                                               JBH-DP01500;
                                               JBH-DP01504;
                                               JBH-DP01507;
                                               JBH-DP01510;
                                               JBH-DP01578;
                                               JBH-DP01580;
                                               JBH-DP01584;
                                               JBH-DP01589;
                                               JBH-DP01592;
                                               JBH-DP01712;
                                               JBH-DP01715;
                                               JBH-DP01717;
                                               JBH-DP01766;
                                               JBH-DP01769;
                                               JBH-DP01772;


                                           6
      Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 9 of 37 Page ID
                                                  #:13877
                                  APPENDIX A: JOINT EXHIBIT LIST
                Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                   Description                 Bates Range /       If        Date    Date
 Ex.                                                   Source        Objection,   ID’d   Admit.
 No.                                                                   State
                                                                     Grounds
                                                    JBH-DP01775;
                                                    JBH-DP01778;
                                                    JBH-DP01835;
                                                    JBH-DP63161-
                                                    JBH-DP63163
 52      Gerardo Ortega Activity Sheets dated       Pltfs’
         05/08/2006 and 05/09/2006                  Production (No
                                                    Bates)
 53      Gerardo Ortega Settlement Summaries        JBH-DP00965-
                                                    JBH-DP01000;
                                                    JBH-DP01011-
                                                    JBH-DP01014;
                                                    JBH-DP01068-
                                                    JBH-DP01070;
                                                    JBH-DP01138-
                                                    JBH-DP01140;
                                                    JBH-DP01175-
                                                    JBH-DP01177;
                                                    JBH-DP01245-
                                                    JBH-DP01247;
                                                    JBH-DP01313-
                                                    JBH-DP01317;
                                                    JBH-DP01384-
                                                    JBH-DP01387;
                                                    JBH-DP01434-
                                                    JBH-DP01437;
                                                    JBH-DP01492-
                                                    JBH-DP01495;
                                                    JBH-DP01574-
                                                    JBH-DP01577;
                                                    JBH-DP01708-
                                                    JBH-DP01711;
                                                    JBH-DP01762-
                                                    JBH-DP01765;
                                                    JBH-DP01831-
                                                    JBH-DP01834;
                                                    JBH-DP01853-
                                                    JBH-DP01857;
                                                    JBH-DP02482-
                                                    JBH-DP02487;
                                                    JBH-DP02488-


                                                7
   Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 10 of 37 Page ID
                                               #:13878
                               APPENDIX A: JOINT EXHIBIT LIST
             Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                  Description                    Bates Range /         If        Date    Date
 Ex.                                                     Source          Objection,   ID’d   Admit.
 No.                                                                       State
                                                                         Grounds
                                                      JBH-DP02541;
                                                      JBH-DP02725-
                                                      JBH-DP02727;
                                                      JBH-DP02731
                                                      –JBH-
                                                      DP02758; JBH-
                                                      DP05264-JBH-
                                                      DP05297; JBH-
                                                      DP68444-JBH-
                                                      DP68446;
                                                      JBH-DP68443-
                                                      JBH-DP68446;
                                                      JBH-DP68851-
                                                      JBH-DP68854.

                                                      Regalado Dep.
                                                      (July 2008) Exs.
                                                      20-24;
                                                      L. Garcia Dep.
                                                      (Aug. 2008) Ex.
                                                      33; L. Garcia
                                                      Dep. (Dec.
                                                      2008) Ex. 39;
                                                      Moncrief Dep.
                                                      Ex. 11; Graves
                                                      Dep. Ex. 49
 54     Michael Patton Driver Settlement              JBH-DP 00333
        Summaries with Supporting Documentation       – JBH-DP
        When Available                                00692; JBH-DP
                                                      01858 – JBH-
                                                      DP 02036;
                                                      JBH-DP04781
                                                      – JBH-
                                                      DP05215
 55     Michael Patton Activity Sheets                JBH-DP 00338
                                                      – JBH-DP
                                                      00341; JBH-DP
                                                      00385; JBH-DP
                                                      00387; JBH-DP
                                                      00389; JBH-DP
                                                      00439; JBH-DP


                                                  8
   Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 11 of 37 Page ID
                                               #:13879
                               APPENDIX A: JOINT EXHIBIT LIST
             Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                 Description                 Bates Range /      If        Date    Date
 Ex.                                                 Source       Objection,   ID’d   Admit.
 No.                                                                State
                                                                  Grounds
                                                  00442; JBH-DP
                                                  00445; JBH-DP
                                                  00448; JBH-DP
                                                  00450; JBH-DP
                                                  00510; JBH-DP
                                                  00513; JBH-DP
                                                  00515; JBH-DP
                                                  00518; JBH-DP
                                                  00521; JBH-DP
                                                  00578; JBH-DP
                                                  00580; JBH-DP
                                                  00583; JBH-DP
                                                  00585; JBH-DP
                                                  00588; JBH-DP
                                                  00638; JBH-DP
                                                  00643; JBH-DP
                                                  00648; JBH-DP
                                                  00650; JBH-DP
                                                  01863; JBH-DP
                                                  01865; JBH-DP
                                                  01867; JBH-DP
                                                  01870; JBH-DP
                                                  01874; JBH-DP
                                                  01917; JBH-DP
                                                  01920; JBH-DP
                                                  01923; JBH-DP
                                                  01926; JBH-DP
                                                  01929; JBH-DP
                                                  01972; JBH-DP
                                                  01974; JBH-DP
                                                  01976; JBH-DP
                                                  01979; JBH-DP
                                                  01983; JBH-DP
                                                  01986; JBH-DP
                                                  04786 - JBH-
                                                  DP 04789
 56     Michael Patton Settlement Summaries       JBH-DP00330-
                                                  JBH-DP00337;
                                                  JBH-DP00381-
                                                  JBH-DP00384;
                                                  JBH-DP00435-



                                              9
   Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 12 of 37 Page ID
                                               #:13880
                               APPENDIX A: JOINT EXHIBIT LIST
             Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                       Description                         Bates Range /         If             Date         Date
 Ex.                                                               Source          Objection,        ID’d        Admit.
 No.                                                                                 State
                                                                                   Grounds
                                                                JBH-DP00438;
                                                                JBH-DP00506-
                                                                JBH-DP00509;
                                                                JBH-DP00574-
                                                                JBH-DP00577;
                                                                JBH-DP00634-
                                                                JBH-DP00637;
                                                                JBH-DP01859-
                                                                JBH-DP01862;
                                                                JBH-DP01913-
                                                                JBH-DP01916;
                                                                JBH-DP01968-
                                                                JBH-DP01971;
                                                                JBH-DP04777-
                                                                JBH-DP04780.

                                                                Patton Dep.
                                                                (June 2008) Ex.
                                                                26 (no Bates #);
                                                                Patton Dep.
                                                                (July 2008) Ex.
                                                                37
 57         PeopleSoft Check Detail Data for Plaintiff          JBH-
            Gerardo Ortega                                      DP68855_0001
                                                                -JBH-
                                                                DP68855_0002 1
 58         PeopleSoft Check Detail Supplemental for            JBH-
            Plaintiff Gerardo Ortega                            DP68857_0001
                                                                -JBH-
                                                                DP68857_0006 2

        1
            RECORD_IDs of 47 Ortega records: 48425, 171796, 171873, 171139, 171443, 171549, 172705, 172712,
            173065, 174264, 174319, 172415, 173897, 173962, 173151, 173524, 187525, 187776, 187880, 188271,
            189736, 187065, 187423, 189431, 188597, 188695, 189017, 189021, 190139, 190197, 220152, 252213,
            251766, 251457, 264813, 266006, 266343, 265776, 267061, 267516, 266594, 266854, 268197, 268374,
            265136, 265359, 267762.
        2
            RECORD_IDs of 191 Ortega records: 1142494, 1142495, 1142496, 1142497, 1142498, 1142499, 1142500,
            1142501, 1142502, 1142503, 1142504, 1142505, 1142506, 1142507, 1142508, 1142509, 1142510, 1142511,
            1142512, 1142513, 1142514, 1142515, 1142516, 1142517, 1142518, 1142519, 1142520, 1142521, 1142522,
            1142523, 1142524, 1142525, 1142526, 1142527, 1142528, 1142529, 1142530, 1142531, 1142532, 1142533,
            1142534, 1142535, 1142536, 1142537, 1142538, 1142539, 1142540, 1174279, 1174280, 1174281, 1174282,



                                                           10
   Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 13 of 37 Page ID
                                               #:13881
                               APPENDIX A: JOINT EXHIBIT LIST
             Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                       Description                         Bates Range /         If             Date         Date
 Ex.                                                               Source          Objection,        ID’d        Admit.
 No.                                                                                 State
                                                                                   Grounds
 59         PeopleSoft Check Summary Data for                   JBH-
            Plaintiff Gerardo Ortega                            DP68856_0001
                                                                -JBH-
                                                                DP68856_0002 3
 60         PeopleSoft Check Detail Data for Plaintiff          JBH-
            Michael Patton                                      DP68855_0001
                                                                -JBH-
                                                                DP68855_0002 4
 61         PeopleSoft Check Detail Supplemental for            JBH-
            Plaintiff Michael Patton                            DP68857_0001
                                                                -JBH-
                                                                DP68857_0006 5
 62         PeopleSoft Check Summary Data for                   JBH-
            Plaintiff Michael Patton                            DP68856_0001




            1174283, 1174284, 1174285, 1174286, 1174287, 1174288, 1174289, 1174290, 1174291, 1174292, 1174293,
            1174294, 1174295, 1174296, 1174297, 1174298, 1174299, 1174300, 1174301, 1174302, 1174303, 1174304,
            1174305, 1174306, 1174307, 1174308, 1174309, 1174310, 1174311, 1174312, 1174313, 1174314, 1174315,
            1174316, 1174317, 1174318, 1179244, 1179245, 1179246, 1179247, 1179248, 1179249, 1179250, 1179251,
            1179252, 1179253, 1179254, 1179255, 1179256, 1179257, 1179258, 1179259, 1179260, 1179261, 1179262,
            1179263, 1179264, 1179265, 1179266, 1179267, 1179268, 1179269, 1179270, 1179271, 1179272, 1179273,
            1179274, 1179275, 1179276, 1179277, 1179278, 1179279, 1179280, 1179281, 1179998, 1179999, 1180000,
            1180001, 1180002, 1180003, 1180004, 1180005, 1180006, 1180007, 1180008, 1180009, 1180010, 1180011,
            1180012, 1180013, 1180014, 1180015, 1180683, 1180684, 1180685, 1180686, 1180687, 1180688, 1180689,
            1180690, 1180691, 1180692, 1180693, 1180694, 1180695, 1180696, 1180697, 1180698, 1180699, 1180700,
            1180701, 1180702, 1180703, 1180704, 1180705, 1180706, 1180707, 1180708, 1180709, 1180710, 1180711,
            1180712, 1180713, 1180714, 1180715, 1180716, 1180717, 1180718, 1180719, 1180720, 1180721, 1180722,
            1180723, 1180724, 1180725, 1180726, 1180727, 1180728, 1180729, 1180730.
        3
            RECORD_IDs of 50 Ortega records: 46158, 158310, 158590, 158680, 158886, 159152, 159268, 159383,
            175020, 175117, 175501, 175555, 175760, 176005, 178269, 178443, 178543, 176853, 176954, 177177,
            177387, 179451, 176282, 176363, 176515, 178988, 179028, 179134, 177710, 177806, 177877, 198424,
            198753, 198904, 239249, 239412, 239610, 239941, 239954, 238530, 238627, 238818, 240823, 241216,
            241230, 240223, 240749, 256949, 257107, 257475.
        4
            RECORD_IDs of 10 Patton records: 261920, 262054, 262454, 262599, 262609, 262830, 263278, 263438,
            263844, 264063.
        5
            RECORD_IDs of 41 Patton records: 560614, 560615, 560616, 560617, 589893, 589894, 589895, 589896,
            589897, 589898, 589899, 589900, 589901, 589902, 589903, 589904, 589905, 589906, 589907, 604265,
            604266, 604267, 604268, 604269, 604270, 604271, 604272, 629507, 629508, 629509, 629510, 629511,
            629512, 629513, 629514, 629515, 629516, 629517, 629518, 629519, 629520.




                                                           11
   Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 14 of 37 Page ID
                                               #:13882
                               APPENDIX A: JOINT EXHIBIT LIST
             Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                       Description                         Bates Range /         If             Date       Date
 Ex.                                                               Source          Objection,        ID’d      Admit.
 No.                                                                                 State
                                                                                   Grounds
                                                                -JBH-
                                                                DP68856_0002 6
 63         PACE Pay Detail Data and PACE                       JBH-
            Comments Fields for Plaintiff Gerardo               DP63007_0001
            Ortega                                              -JBH-
                                                                DP63007_0032
                                                                and JBH-
                                                                DP68594_0001
                                                                -JBH-
                                                                DP68594_0032 7
 64         PACE Pay Detail Data and PACE Comment JBH-
            Fields for Plaintiff Michael Patton   DP63007_0001
                                                  -JBH-
                                                  DP63007_0032
                                                  and JBH-
                                                  DP68594_0001
                                                  -JBH-
                                                  DP68594_0032 8
 65         Pay Code Descriptions – PACE                        JBH-
                                                                DP68455_0001
 66         Pay Code Descriptions –                             JBH-
            PeopleSoft/WorkDay                                  DP68456_0001
 67         DCS Contract Driver Detail for Plaintiff            JBH-
            Gerardo Ortega                                      DP63013_0001 9


        6
            RECORD_IDs of 10 Patton records: 235472, 235597, 235911, 235945, 236164, 247287, 247308, 247676,
            246882, 246932.
        7
            RECORD_IDs of 68 Ortega records: 94031, 97303, 168335, 995841, 1090319, 1384472, 1675786, 1720643,
            1730218, 2454983, 3054786, 3374888, 3592015, 3869130, 4206719, 4297803, 4305180, 4554346, 4712283,
            4748417, 4784949, 4839410, 5051445, 5484204, 5699846, 5833861, 6200283, 6488287, 7344733, 7385698,
            7571572, 7843899, 7945654, 8245427, 8815825, 8903573, 8976074, 9336718, 9487127, 9734727, 9823082,
            9895923, 9904617, 10009181, 10329647, 10491111, 10499482, 10682966, 10909241, 11183421, 11280115,
            11381689, 11473573, 11652630, 11688855, 11817757, 13399835, 13613434, 13669323, 14022867, 14029187,
            14123833, 14126342, 14670486, 14761361, 14980940, 15046195, 15416788.
        8
            RECORD_IDs of Patton 22 records: 586478, 641182, 653221, 1460320, 1869716, 2478256, 3755908,
            6338143, 6474792, 6642489, 8023580, 8340314, 8639479, 11219825, 12418753, 12662669, 12960146,
            13759872, 14757271, 15131070, 15251334, 15705774.
        9
            RECORD_IDs of 4 Ortega records: 30353-30355; 52622.




                                                           12
   Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 15 of 37 Page ID
                                               #:13883
                               APPENDIX A: JOINT EXHIBIT LIST
             Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                        Description                           Bates Range /       If         Date    Date
 Ex.                                                                  Source        Objection,    ID’d   Admit.
 No.                                                                                  State
                                                                                    Grounds
 68          DCS Contract Driver Detail for Plaintiff             JBH-
             Michael Patton                                       DP63013_0001
                                                                  10


 69          DCS Contract Account Detail for Plaintiff            JBH-
             Gerardo Ortega                                       DP63014_0001
                                                                  11


 70          DCS Contract Account Detail for Plaintiff            JBH-
             Michael Patton                                       DP63014_0001
                                                                  12


 71          Comp Plans EOI for Plaintiff Gerardo                 JBH-
             Ortega                                               DP68451_0001
                                                                  -JBH-
                                                                  DP68451_0002
                                                                  13


 72          Comp Plans EOI for Plaintiff Michael                 JBH-
             Patton                                               DP68451_0001
                                                                  -JBH-
                                                                  DP68451_0002
                                                                  14


 73          Data Dictionary dated July 31, 2018

 74          Report of Plaintiffs’ Experts Brendan K.
             Burke and Candice L. Rosevear dated
             August 13, 2018.
 75          Supplemental Amended Report of                                        D: Violates
             Plaintiffs’ Experts Global Economics                                  the Court’s
             Prepared For Trial and Documents relied on                            July 18,
             by Plaintiffs’ Experts                                                2018 Order
                                                                                   (Dkt. 266)
                                                                                   and FRCP
                                                                                   26(e)(1)(A);
                                                                                   as of August

        10
             RECORD_IDs of 2 Patton records: 33325, 35746.
        11
             RECORD_IDs of 6 Ortega records: 14750-14755.
        12
             RECORD_IDs of 2 Patton records: 15121, 15122.
        13
             RECORD_IDs of 58 Ortega records: 83024-83081.
        14
             RECORD_IDs of 8 Patton records: 40968-40975.



                                                             13
   Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 16 of 37 Page ID
                                               #:13884
                               APPENDIX A: JOINT EXHIBIT LIST
             Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                  Description                       Bates Range /          If         Date    Date
 Ex.                                                        Source         Objection,      ID’d   Admit.
 No.                                                                          State
                                                                            Grounds
                                                                         14, 2018 (the
                                                                         date of this
                                                                         filing)
                                                                         Plaintiffs
                                                                         have not
                                                                         served the
                                                                         “supplement
                                                                         -al amended”
                                                                         expert
                                                                         report,
                                                                         therefore
                                                                         Defendant
                                                                         reserves the
                                                                         right to
                                                                         supplement
                                                                         its objections
                                                                         at a later date
                                                                         once it has
                                                                         received and
                                                                         reviewed the
                                                                         report.
 76     Rebuttal Report to Supplemental Amended
        Report of Plaintiffs’ Experts Global
        Economics Prepared for Trial and
        Documents relied on by Plaintiffs’ Expert
 77     07/20/2018 Expert Report of Gordon Klemp                         (1) Irrelevant
                                                                         FRE 401,
                                                                         402; (2)
                                                                         Waste of
                                                                         time or
                                                                         Cumulative
                                                                         FRE 403; (3)
                                                                         Prejudice
                                                                         Outweighs
                                                                         Probative
                                                                         Value FRE
                                                                         403; (4)
                                                                         Confusing or
                                                                         Misleading
                                                                         FRE 403;
                                                                         and (5)


                                                    14
   Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 17 of 37 Page ID
                                               #:13885
                               APPENDIX A: JOINT EXHIBIT LIST
             Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                  Description                     Bates Range /         If       Date    Date
 Ex.                                                      Source        Objection,    ID’d   Admit.
 No.                                                                       State
                                                                         Grounds
                                                                       violates the
                                                                       law of the
                                                                       case
                                                                       doctrine.
 78     Documents relied on by Gordon Klemp for        NTI_000001-     P: (1)
        his 07/20/2018 Expert Report                   NTI_000070      Irrelevant
                                                                       FRE 401,
                                                                       402; (2)
                                                                       Waste of
                                                                       time or
                                                                       Cumulative
                                                                       FRE 403; (3)
                                                                       Prejudice
                                                                       Outweighs
                                                                       Probative
                                                                       Value FRE
                                                                       403; (4)
                                                                       Confusing or
                                                                       Misleading
                                                                       FRE 403;
                                                                       and (5)
                                                                       violates law
                                                                       of the case
                                                                       doctrine.
 79     2013 Expert Report of Robert H. Topel                          P: (1)
        Ph.D Report                                                    Irrelevant
                                                                       FRE 401,
                                                                       402; (2)
                                                                       Waste of
                                                                       time or
                                                                       Cumulative
                                                                       FRE 403; (3)
                                                                       Prejudice
                                                                       Outweighs
                                                                       Probative
                                                                       Value FRE
                                                                       403; (4)
                                                                       Confusing or
                                                                       Misleading
                                                                       FRE 403;
                                                                       and (5)


                                                  15
   Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 18 of 37 Page ID
                                               #:13886
                               APPENDIX A: JOINT EXHIBIT LIST
             Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                  Description                       Bates Range /         If       Date    Date
 Ex.                                                        Source        Objection,    ID’d   Admit.
 No.                                                                         State
                                                                           Grounds
                                                                         violates law
                                                                         of the case
                                                                         doctrine.
 80     04/2018 Robert H. Topel Curriculum Vitae                         P: (1)
                                                                         Irrelevant
                                                                         FRE 401,
                                                                         402; (2)
                                                                         Waste of
                                                                         time or
                                                                         Cumulative
                                                                         FRE 403; (3)
                                                                         Prejudice
                                                                         Outweighs
                                                                         Probative
                                                                         Value FRE
                                                                         403; (4)
                                                                         Confusing or
                                                                         Misleading
                                                                         FRE 403;
                                                                         and (5)
                                                                         violates law
                                                                         of the case
                                                                         doctrine.
 81     Document relied on by Robert H. Topel for                        P: (1)
        his 2013 Expert Report – JB Hunt 2012                            Irrelevant
        Annual Report                                                    FRE 401,
                                                                         402; (2)
                                                                         Waste of
                                                                         time or
                                                                         Cumulative
                                                                         FRE 403; (3)
                                                                         Prejudice
                                                                         Outweighs
                                                                         Probative
                                                                         Value FRE
                                                                         403; (4)
                                                                         Confusing or
                                                                         Misleading
                                                                         FRE 403;
                                                                         and (5)
                                                                         violates law


                                                    16
   Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 19 of 37 Page ID
                                               #:13887
                               APPENDIX A: JOINT EXHIBIT LIST
             Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                  Description                       Bates Range /         If       Date    Date
 Ex.                                                        Source        Objection,    ID’d   Admit.
 No.                                                                         State
                                                                           Grounds
                                                                         of the case
                                                                         doctrine.
 82     Document relied on by Robert H. Topel for                        P: (1)
        his 2013 Expert Report – DCS Complex                             Irrelevant
        Services Brochure                                                FRE 401,
                                                                         402; (2)
                                                                         Waste of
                                                                         time or
                                                                         Cumulative
                                                                         FRE 403; (3)
                                                                         Prejudice
                                                                         Outweighs
                                                                         Probative
                                                                         Value FRE
                                                                         403; (4)
                                                                         Confusing or
                                                                         Misleading
                                                                         FRE 403;
                                                                         and (5)
                                                                         violates law
                                                                         of the case
                                                                         doctrine.
 83     Document relied on by Robert H. Topel for                        P: (1)
        his 2013 Expert Report – Baxter and Smith                        Irrelevant
        Memo 2002                                                        FRE 401,
                                                                         402; (2)
                                                                         Waste of
                                                                         time or
                                                                         Cumulative
                                                                         FRE 403; (3)
                                                                         Prejudice
                                                                         Outweighs
                                                                         Probative
                                                                         Value FRE
                                                                         403; (4)
                                                                         Confusing or
                                                                         Misleading
                                                                         FRE 403;
                                                                         and (5)
                                                                         violates law



                                                    17
   Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 20 of 37 Page ID
                                               #:13888
                               APPENDIX A: JOINT EXHIBIT LIST
             Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                  Description                        Bates Range /         If       Date    Date
 Ex.                                                         Source        Objection,    ID’d   Admit.
 No.                                                                          State
                                                                            Grounds
                                                                          of the case
                                                                          doctrine.
 84     Document relied on by Robert H. Topel for                         P: (1)
        his 2013 Expert Report – Booth and Frank                          Irrelevant
        (1999) “Earnings, Productivity, and                               FRE 401,
        Performance-Related Pay”                                          402; (2)
                                                                          Waste of
                                                                          time or
                                                                          Cumulative
                                                                          FRE 403; (3)
                                                                          Prejudice
                                                                          Outweighs
                                                                          Probative
                                                                          Value FRE
                                                                          403; (4)
                                                                          Confusing or
                                                                          Misleading
                                                                          FRE 403;
                                                                          and (5)
                                                                          violates law
                                                                          of the case
                                                                          doctrine.
 85     Document relied on by Robert H. Topel for                         P: (1)
        his 2013 Expert Report – Fernie and                               Irrelevant
        Metcalf (1999) “It’s Not What you Pay It’s                        FRE 401,
        the Way that You Pay it and That’s What                           402; (2)
        Gets Results: Jockeys’ Pay and                                    Waste of
        Performance”                                                      time or
                                                                          Cumulative
                                                                          FRE 403; (3)
                                                                          Prejudice
                                                                          Outweighs
                                                                          Probative
                                                                          Value FRE
                                                                          403; (4)
                                                                          Confusing or
                                                                          Misleading
                                                                          FRE 403;
                                                                          and (5)
                                                                          violates law



                                                     18
   Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 21 of 37 Page ID
                                               #:13889
                               APPENDIX A: JOINT EXHIBIT LIST
             Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                  Description                       Bates Range /         If       Date    Date
 Ex.                                                        Source        Objection,    ID’d   Admit.
 No.                                                                         State
                                                                           Grounds
                                                                         of the case
                                                                         doctrine.
 86     Document relied on by Robert H. Topel for                        P: (1)
        his 2013 Expert Report – Lazear (1986)                           Irrelevant
        “Salaries and Piece Rates”                                       FRE 401,
                                                                         402; (2)
                                                                         Waste of
                                                                         time or
                                                                         Cumulative
                                                                         FRE 403; (3)
                                                                         Prejudice
                                                                         Outweighs
                                                                         Probative
                                                                         Value FRE
                                                                         403; (4)
                                                                         Confusing or
                                                                         Misleading
                                                                         FRE 403;
                                                                         and (5)
                                                                         violates law
                                                                         of the case
                                                                         doctrine.
 87     Document relied on by Robert H. Topel for                        P: (1)
        his 2013 Expert Report – Lazear (2000)                           Irrelevant
        “Performance Pay and Productivity”                               FRE 401,
                                                                         402; (2)
                                                                         Waste of
                                                                         time or
                                                                         Cumulative
                                                                         FRE 403; (3)
                                                                         Prejudice
                                                                         Outweighs
                                                                         Probative
                                                                         Value FRE
                                                                         403; (4)
                                                                         Confusing or
                                                                         Misleading
                                                                         FRE 403;
                                                                         and (5)
                                                                         violates law



                                                    19
   Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 22 of 37 Page ID
                                               #:13890
                               APPENDIX A: JOINT EXHIBIT LIST
             Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                  Description                        Bates Range /         If       Date    Date
 Ex.                                                         Source        Objection,    ID’d   Admit.
 No.                                                                          State
                                                                            Grounds
                                                                          of the case
                                                                          doctrine.
 88     Document relied on by Robert H. Topel for                         P: (1)
        his 2013 Expert Report – Paarsch and                              Irrelevant
        Shearer (1996) “Fixed Wages, Piece Rates                          FRE 401,
        and Intertemporal Productivity: A Study of                        402; (2)
        Tree Planters in British Columbia”                                Waste of
                                                                          time or
                                                                          Cumulative
                                                                          FRE 403; (3)
                                                                          Prejudice
                                                                          Outweighs
                                                                          Probative
                                                                          Value FRE
                                                                          403; (4)
                                                                          Confusing or
                                                                          Misleading
                                                                          FRE 403;
                                                                          and (5)
                                                                          violates law
                                                                          of the case
                                                                          doctrine.
 89     Document relied on by Robert H. Topel for                         P: (1)
        his 2013 Expert Report – Pekkarinen and                           Irrelevant
        Riddell (2008) “Performance Pay and                               FRE 401,
        Earnings: Evidence from Personnel                                 402; (2)
        Records”                                                          Waste of
                                                                          time or
                                                                          Cumulative
                                                                          FRE 403; (3)
                                                                          Prejudice
                                                                          Outweighs
                                                                          Probative
                                                                          Value FRE
                                                                          403; (4)
                                                                          Confusing or
                                                                          Misleading
                                                                          FRE 403;
                                                                          and (5)
                                                                          violates law



                                                     20
   Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 23 of 37 Page ID
                                               #:13891
                               APPENDIX A: JOINT EXHIBIT LIST
             Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                  Description                       Bates Range /         If       Date    Date
 Ex.                                                        Source        Objection,    ID’d   Admit.
 No.                                                                         State
                                                                           Grounds
                                                                         of the case
                                                                         doctrine.
 90     Document relied on by Robert H. Topel for                        P: (1)
        his 2013 Expert Report – Prendergast                             Irrelevant
        (1999) “The Provision of Incentives in                           FRE 401,
        Firms”                                                           402; (2)
                                                                         Waste of
                                                                         time or
                                                                         Cumulative
                                                                         FRE 403; (3)
                                                                         Prejudice
                                                                         Outweighs
                                                                         Probative
                                                                         Value FRE
                                                                         403; (4)
                                                                         Confusing or
                                                                         Misleading
                                                                         FRE 403;
                                                                         and (5)
                                                                         violates law
                                                                         of the case
                                                                         doctrine.
 91     Document relied on by Robert H. Topel for                        P: (1)
        his 2013 Expert Report – Shearer (2004)                          Irrelevant
        “Piece rates, Fixed Wages and Incentives:                        FRE 401,
        Evidence from a Field Experiment”                                402; (2)
                                                                         Waste of
                                                                         time or
                                                                         Cumulative
                                                                         FRE 403; (3)
                                                                         Prejudice
                                                                         Outweighs
                                                                         Probative
                                                                         Value FRE
                                                                         403; (4)
                                                                         Confusing or
                                                                         Misleading
                                                                         FRE 403;
                                                                         and (5)
                                                                         violates law



                                                    21
   Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 24 of 37 Page ID
                                               #:13892
                               APPENDIX A: JOINT EXHIBIT LIST
             Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                  Description                    Bates Range /         If       Date    Date
 Ex.                                                     Source        Objection,    ID’d   Admit.
 No.                                                                       State
                                                                        Grounds
                                                                      of the case
                                                                      doctrine.
 92     Documents relied on by Robert H. Topel for                    P: (1)
        his 2013 Expert Report – Shi (2010)                           Irrelevant
        “Incentive Effect of Piece Rate Contracts:                    FRE 401,
        Evidence from Two Small Field                                 402; (2)
        Experiments”                                                  Waste of
                                                                      time or
                                                                      Cumulative
                                                                      FRE 403; (3)
                                                                      Prejudice
                                                                      Outweighs
                                                                      Probative
                                                                      Value FRE
                                                                      403; (4)
                                                                      Confusing or
                                                                      Misleading
                                                                      FRE 403;
                                                                      and (5)
                                                                      violates law
                                                                      of the case
                                                                      doctrine.
 93     Documents relied on by Robert H. Topel for Dkt. 125-7 (A)     P: (1)
        his 2013 Expert Report – 03/31/2009                           Irrelevant
        Declaration of Dave Aragon                                    FRE 401,
                                                                      402; (2)
                                                                      Waste of
                                                                      time or
                                                                      Cumulative
                                                                      FRE 403; (3)
                                                                      Prejudice
                                                                      Outweighs
                                                                      Probative
                                                                      Value FRE
                                                                      403; (4)
                                                                      Confusing or
                                                                      Misleading
                                                                      FRE 403;
                                                                      and (5)
                                                                      violates law



                                                 22
   Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 25 of 37 Page ID
                                               #:13893
                               APPENDIX A: JOINT EXHIBIT LIST
             Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                 Description                    Bates Range /         If        Date    Date
 Ex.                                                    Source        Objection,     ID’d   Admit.
 No.                                                                     State
                                                                       Grounds
                                                                     of the case
                                                                     doctrine.
 94     Documents relied on by Robert H. Topel for Dkt. 125-3        P: (1)
        his 2013 Expert Report – 10/17/2013                          Irrelevant
        Declaration of Kris Ashmore                                  FRE 401,
                                                                     402; (2)
                                                                     Waste of
                                                                     time or
                                                                     Cumulative
                                                                     FRE 403; (3)
                                                                     Prejudice
                                                                     Outweighs
                                                                     Probative
                                                                     Value FRE
                                                                     403; (4)
                                                                     Confusing or
                                                                     Misleading
                                                                     FRE 403;
                                                                     and (5)
                                                                     violates law
                                                                     of the case
                                                                     doctrine.
                                                                     Moreover,
                                                                     the
                                                                     statements in
                                                                     the
                                                                     declaration
                                                                     do not
                                                                     comport with
                                                                     the Need for
                                                                     Personal
                                                                     Knowledge
                                                                     required by
                                                                     FRE 602 and
                                                                     constitute
                                                                     Improper
                                                                     Opinion of
                                                                     Lay Witness
                                                                     under FRE
                                                                     701, 702,
                                                                     703.



                                                23
   Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 26 of 37 Page ID
                                               #:13894
                               APPENDIX A: JOINT EXHIBIT LIST
             Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                 Description                    Bates Range /       If         Date    Date
 Ex.                                                    Source        Objection,    ID’d   Admit.
 No.                                                                    State
                                                                      Grounds
 95     Documents relied on by Robert H. Topel for Dkt. 131          P: (1)
        his 2013 Expert Report – 11/15/2013                          Irrelevant
        Declaration of Frank Broadstreet                             FRE 401,
                                                                     402; (2)
                                                                     Waste of
                                                                     time or
                                                                     Cumulative
                                                                     FRE 403; (3)
                                                                     Prejudice
                                                                     Outweighs
                                                                     Probative
                                                                     Value FRE
                                                                     403; (4)
                                                                     Confusing or
                                                                     Misleading
                                                                     FRE 403;
                                                                     and (5)
                                                                     violates law
                                                                     of the case
                                                                     doctrine.
 96     Documents relied on by Robert H. Topel for Dkt. 125-7 (B)    P: (1)
        his 2013 Expert Report – 04/02/2009                          Irrelevant
        Declaration of Jamie Couch                                   FRE 401,
                                                                     402; (2)
                                                                     Waste of
                                                                     time or
                                                                     Cumulative
                                                                     FRE 403; (3)
                                                                     Prejudice
                                                                     Outweighs
                                                                     Probative
                                                                     Value FRE
                                                                     403; (4)
                                                                     Confusing or
                                                                     Misleading
                                                                     FRE 403;
                                                                     and (5)
                                                                     violates law
                                                                     of the case
                                                                     doctrine.



                                                24
   Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 27 of 37 Page ID
                                               #:13895
                               APPENDIX A: JOINT EXHIBIT LIST
             Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                 Description                    Bates Range /       If         Date    Date
 Ex.                                                    Source        Objection,    ID’d   Admit.
 No.                                                                    State
                                                                      Grounds
 97     Documents relied on by Robert H. Topel for Dkt. 125-7 (C)    P: (1)
        his 2013 Expert Report – 03/30/2009                          Irrelevant
        Declaration of Christopher Daszi                             FRE 401,
                                                                     402; (2)
                                                                     Waste of
                                                                     time or
                                                                     Cumulative
                                                                     FRE 403; (3)
                                                                     Prejudice
                                                                     Outweighs
                                                                     Probative
                                                                     Value FRE
                                                                     403; (4)
                                                                     Confusing or
                                                                     Misleading
                                                                     FRE 403;
                                                                     and (5)
                                                                     violates law
                                                                     of the case
                                                                     doctrine.
 98     Documents relied on by Robert H. Topel for Dkt. 125-7 (D)    P: (1)
        his 2013 Expert Report – 03/30/2009                          Irrelevant
        Declaration of Francisco Escobedo                            FRE 401,
                                                                     402; (2)
                                                                     Waste of
                                                                     time or
                                                                     Cumulative
                                                                     FRE 403; (3)
                                                                     Prejudice
                                                                     Outweighs
                                                                     Probative
                                                                     Value FRE
                                                                     403; (4)
                                                                     Confusing or
                                                                     Misleading
                                                                     FRE 403;
                                                                     and (5)
                                                                     violates law
                                                                     of the case
                                                                     doctrine.



                                                25
   Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 28 of 37 Page ID
                                               #:13896
                               APPENDIX A: JOINT EXHIBIT LIST
             Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                 Description                    Bates Range /       If         Date    Date
 Ex.                                                    Source        Objection,    ID’d   Admit.
 No.                                                                    State
                                                                      Grounds
 99     Documents relied on by Robert H. Topel for Dkt. 60-8         P: (1)
        his 2013 Expert Report – 03/31/2009                          Irrelevant
        Declaration of Derrick Ferguson                              FRE 401,
                                                                     402; (2)
                                                                     Waste of
                                                                     time or
                                                                     Cumulative
                                                                     FRE 403; (3)
                                                                     Prejudice
                                                                     Outweighs
                                                                     Probative
                                                                     Value FRE
                                                                     403; (4)
                                                                     Confusing or
                                                                     Misleading
                                                                     FRE 403;
                                                                     and (5)
                                                                     violates law
                                                                     of the case
                                                                     doctrine.
100     Documents relied on by Robert H. Topel for Dkt. 125-5        P: (1)
        his 2013 Expert Report – 10/18/13                            Irrelevant
        Declaration of Darren Field                                  FRE 401,
                                                                     402; (2)
                                                                     Waste of
                                                                     time or
                                                                     Cumulative
                                                                     FRE 403; (3)
                                                                     Prejudice
                                                                     Outweighs
                                                                     Probative
                                                                     Value FRE
                                                                     403; (4)
                                                                     Confusing or
                                                                     Misleading
                                                                     FRE 403;
                                                                     and (5)
                                                                     violates law
                                                                     of the case
                                                                     doctrine.
                                                                     Moreover,


                                                26
   Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 29 of 37 Page ID
                                               #:13897
                               APPENDIX A: JOINT EXHIBIT LIST
             Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                 Description                     Bates Range /         If        Date    Date
 Ex.                                                     Source        Objection,     ID’d   Admit.
 No.                                                                      State
                                                                        Grounds
                                                                      the
                                                                      statements in
                                                                      the
                                                                      declaration
                                                                      do not
                                                                      comport with
                                                                      the Need for
                                                                      Personal
                                                                      Knowledge
                                                                      required by
                                                                      FRE 602 and
                                                                      constitute
                                                                      Improper
                                                                      Opinion of
                                                                      Lay Witness
                                                                      under FRE
                                                                      701, 702,
                                                                      703
101     Documents relied on by Robert H. Topel for Dkt. 125-7 (E)     P: (1)
        his 2013 Expert Report – 04/10/2009                           Irrelevant
        Declaration of Leonard Garcia                                 FRE 401,
                                                                      402; (2)
                                                                      Waste of
                                                                      time or
                                                                      Cumulative
                                                                      FRE 403; (3)
                                                                      Prejudice
                                                                      Outweighs
                                                                      Probative
                                                                      Value FRE
                                                                      403; (4)
                                                                      Confusing or
                                                                      Misleading
                                                                      FRE 403;
                                                                      and (5)
                                                                      violates law
                                                                      of the case
                                                                      doctrine.
102     Documents relied on by Robert H. Topel for Dkt. 125-8 (F)     P: (1)
        his 2013 Expert Report – 03/30/2009                           Irrelevant
        Declaration of Marco Leuvano                                  FRE 401,


                                                 27
   Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 30 of 37 Page ID
                                               #:13898
                               APPENDIX A: JOINT EXHIBIT LIST
             Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                 Description                    Bates Range /         If       Date    Date
 Ex.                                                    Source         Objection,   ID’d   Admit.
 No.                                                                     State
                                                                       Grounds
                                                                     402; (2)
                                                                     Waste of
                                                                     time or
                                                                     Cumulative
                                                                     FRE 403; (3)
                                                                     Prejudice
                                                                     Outweighs
                                                                     Probative
                                                                     Value FRE
                                                                     403; (4)
                                                                     Confusing or
                                                                     Misleading
                                                                     FRE 403;
                                                                     and (5)
                                                                     violates law
                                                                     of the case
                                                                     doctrine.
103     Documents relied on by Robert H. Topel for Dkt. 125-8 (G)    P: (1)
        his 2013 Expert Report – 03/30/2009                          Irrelevant
        Declaration of Carlos Moreno                                 FRE 401,
                                                                     402; (2)
                                                                     Waste of
                                                                     time or
                                                                     Cumulative
                                                                     FRE 403; (3)
                                                                     Prejudice
                                                                     Outweighs
                                                                     Probative
                                                                     Value FRE
                                                                     403; (4)
                                                                     Confusing or
                                                                     Misleading
                                                                     FRE 403;
                                                                     and (5)
                                                                     violates law
                                                                     of the case
                                                                     doctrine.
104     Documents relied on by Robert H. Topel for Dkt. 125-8 (H)    P: (1)
        his 2013 Expert Report – 03/30/2009                          Irrelevant
        Declaration of Thomas O’Connor                               FRE 401,
                                                                     402; (2)


                                                28
   Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 31 of 37 Page ID
                                               #:13899
                               APPENDIX A: JOINT EXHIBIT LIST
             Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                 Description                    Bates Range /         If       Date    Date
 Ex.                                                    Source         Objection,   ID’d   Admit.
 No.                                                                     State
                                                                       Grounds
                                                                     Waste of
                                                                     time or
                                                                     Cumulative
                                                                     FRE 403; (3)
                                                                     Prejudice
                                                                     Outweighs
                                                                     Probative
                                                                     Value FRE
                                                                     403; (4)
                                                                     Confusing or
                                                                     Misleading
                                                                     FRE 403;
                                                                     and (5)
                                                                     violates law
                                                                     of the case
                                                                     doctrine.
105     Documents relied on by Robert H. Topel for Dkt. 132          P: (1)
        his 2013 Expert Report – 11/15/2013                          Irrelevant
        Declaration of Aaron Regalado                                FRE 401,
                                                                     402; (2)
                                                                     Waste of
                                                                     time or
                                                                     Cumulative
                                                                     FRE 403; (3)
                                                                     Prejudice
                                                                     Outweighs
                                                                     Probative
                                                                     Value FRE
                                                                     403; (4)
                                                                     Confusing or
                                                                     Misleading
                                                                     FRE 403;
                                                                     and (5)
                                                                     violates law
                                                                     of the case
                                                                     doctrine.
106     Documents relied on by Robert H. Topel for Dkt. 125-10       P: (1)
        his 2013 Expert Report – 10/17/2013                          Irrelevant
        Declaration of Robert Topel                                  FRE 401,
                                                                     402; (2)
                                                                     Waste of


                                                29
   Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 32 of 37 Page ID
                                               #:13900
                               APPENDIX A: JOINT EXHIBIT LIST
             Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                  Description                    Bates Range /         If       Date    Date
 Ex.                                                     Source         Objection,   ID’d   Admit.
 No.                                                                      State
                                                                        Grounds
                                                                      time or
                                                                      Cumulative
                                                                      FRE 403; (3)
                                                                      Prejudice
                                                                      Outweighs
                                                                      Probative
                                                                      Value FRE
                                                                      403; (4)
                                                                      Confusing or
                                                                      Misleading
                                                                      FRE 403;
                                                                      and (5)
                                                                      violates law
                                                                      of the case
                                                                      doctrine.
107     Documents relied on by Robert H. Topel for Dkt. 125-8 (I)     P: (1)
        his 2013 Expert Report – 09/26/2012                           Irrelevant
        Declaration of Tony Vargas                                    FRE 401,
                                                                      402; (2)
                                                                      Waste of
                                                                      time or
                                                                      Cumulative
                                                                      FRE 403; (3)
                                                                      Prejudice
                                                                      Outweighs
                                                                      Probative
                                                                      Value FRE
                                                                      403; (4)
                                                                      Confusing or
                                                                      Misleading
                                                                      FRE 403;
                                                                      and (5)
                                                                      violates law
                                                                      of the case
                                                                      doctrine.
108     Documents relied on by Robert H. Topel for Dkt. 134           P: (1)
        his 2013 Expert Report – 11/18/2013                           Irrelevant
        Declaration of Benton Walker                                  FRE 401,
                                                                      402; (2)
                                                                      Waste of
                                                                      time or


                                                 30
   Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 33 of 37 Page ID
                                               #:13901
                               APPENDIX A: JOINT EXHIBIT LIST
             Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                   Description                      Bates Range /         If       Date    Date
 Ex.                                                        Source        Objection,    ID’d   Admit.
 No.                                                                         State
                                                                           Grounds
                                                                         Cumulative
                                                                         FRE 403; (3)
                                                                         Prejudice
                                                                         Outweighs
                                                                         Probative
                                                                         Value FRE
                                                                         403; (4)
                                                                         Confusing or
                                                                         Misleading
                                                                         FRE 403;
                                                                         and (5)
                                                                         violates law
                                                                         of the case
                                                                         doctrine.
109     Documents relied on by Robert H. Topel for Dkt. 125-8 (J)        P: (1)
        his 2013 Expert Report – 03/31/2009                              Irrelevant
        Declaration of Terry Weston                                      FRE 401,
                                                                         402; (2)
                                                                         Waste of
                                                                         time or
                                                                         Cumulative
                                                                         FRE 403; (3)
                                                                         Prejudice
                                                                         Outweighs
                                                                         Probative
                                                                         Value FRE
                                                                         403; (4)
                                                                         Confusing or
                                                                         Misleading
                                                                         FRE 403;
                                                                         and (5)
                                                                         violates law
                                                                         of the case
                                                                         doctrine.
110     Data relied on by Robert H. Topel for his        JBH-DP48479-    P: (1)
        2013 Expert Report – Complete ABP                JBH-DP48480;    Irrelevant
        Rollout Schedule.xlsx                            Walker Dep.     FRE 401,
                                                         Ex. 3           402; (2)
                                                                         Waste of
                                                                         time or
                                                                         Cumulative


                                                    31
   Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 34 of 37 Page ID
                                               #:13902
                               APPENDIX A: JOINT EXHIBIT LIST
             Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                   Description                      Bates Range /         If       Date    Date
 Ex.                                                        Source        Objection,    ID’d   Admit.
 No.                                                                         State
                                                                           Grounds
                                                                         FRE 403; (3)
                                                                         Prejudice
                                                                         Outweighs
                                                                         Probative
                                                                         Value FRE
                                                                         403; (4)
                                                                         Confusing or
                                                                         Misleading
                                                                         FRE 403;
                                                                         and (5)
                                                                         violates law
                                                                         of the case
                                                                         doctrine.
111     Data relied on by Robert H. Topel for his        JBH-DP48481-    P: (1)
        2013 Expert Report – FMS 2012-2013               JBH-DP48492;    Irrelevant
        Weekly Efficiency.xlsx                           Walker Dep.     FRE 401,
                                                         Ex. 4;          402; (2)
                                                         Broadstreet     Waste of
                                                         Dep. Ex. 11     time or
                                                                         Cumulative
                                                                         FRE 403; (3)
                                                                         Prejudice
                                                                         Outweighs
                                                                         Probative
                                                                         Value FRE
                                                                         403; (4)
                                                                         Confusing or
                                                                         Misleading
                                                                         FRE 403;
                                                                         and (5)
                                                                         violates law
                                                                         of the case
                                                                         doctrine.
112     Data relied on by Robert H. Topel for his        JBH-DP48493-    P: (1)
        2013 Expert Report – Activity Based Pay          JBH-DP48495;    Irrelevant
        Rollout Schedule Update.xlsx                                     FRE 401,
                                                                         402; (2)
                                                                         Waste of
                                                                         time or
                                                                         Cumulative
                                                                         FRE 403; (3)


                                                    32
   Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 35 of 37 Page ID
                                               #:13903
                               APPENDIX A: JOINT EXHIBIT LIST
             Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                   Description                      Bates Range /         If       Date    Date
 Ex.                                                        Source        Objection,    ID’d   Admit.
 No.                                                                         State
                                                                           Grounds
                                                                         Prejudice
                                                                         Outweighs
                                                                         Probative
                                                                         Value FRE
                                                                         403; (4)
                                                                         Confusing or
                                                                         Misleading
                                                                         FRE 403;
                                                                         and (5)
                                                                         violates law
                                                                         of the case
                                                                         doctrine.
113     Data relied on by Robert H. Topel for his        JBH-DP48496-    P: (1)
        2013 Expert Report – FMS 2012-2013               JBH-DP51179     Irrelevant
        Weekly Efficiency and Productivity                               FRE 401,
        Trends.xlsx                                                      402; (2)
                                                                         Waste of
                                                                         time or
                                                                         Cumulative
                                                                         FRE 403; (3)
                                                                         Prejudice
                                                                         Outweighs
                                                                         Probative
                                                                         Value FRE
                                                                         403; (4)
                                                                         Confusing or
                                                                         Misleading
                                                                         FRE 403;
                                                                         and (5)
                                                                         violates law
                                                                         of the case
                                                                         doctrine.
114     Data relied on by Robert H. Topel for his        JBH-DP51180-    P: (1)
        2013 Expert Report – Pay Rate Evaluation         JBH-DP51311     Irrelevant
        San Bernardino-V95.xlsx                                          FRE 401,
                                                                         402; (2)
                                                                         Waste of
                                                                         time or
                                                                         Cumulative
                                                                         FRE 403; (3)
                                                                         Prejudice


                                                    33
   Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 36 of 37 Page ID
                                               #:13904
                               APPENDIX A: JOINT EXHIBIT LIST
             Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial                   Description                      Bates Range /         If       Date    Date
 Ex.                                                        Source        Objection,    ID’d   Admit.
 No.                                                                         State
                                                                           Grounds
                                                                         Outweighs
                                                                         Probative
                                                                         Value FRE
                                                                         403; (4)
                                                                         Confusing or
                                                                         Misleading
                                                                         FRE 403;
                                                                         and (5)
                                                                         violates law
                                                                         of the case
                                                                         doctrine.
115     Data relied on by Robert H. Topel for his        JBH-DP51312-    P: (1)
        2013 Expert Report – San Bernardino              JBH-DP51455     Irrelevant
        Driver History.xlsx                                              FRE 401,
                                                                         402; (2)
                                                                         Waste of
                                                                         time or
                                                                         Cumulative
                                                                         FRE 403; (3)
                                                                         Prejudice
                                                                         Outweighs
                                                                         Probative
                                                                         Value FRE
                                                                         403; (4)
                                                                         Confusing or
                                                                         Misleading
                                                                         FRE 403;
                                                                         and (5)
                                                                         violates law
                                                                         of the case
                                                                         doctrine.
116     August 3, 2018 Expert Report of Robert                           P: (1)
        Topel, PhD                                                       Irrelevant
                                                                         FRE 401,
                                                                         402; (2)
                                                                         Waste of
                                                                         time or
                                                                         Cumulative
                                                                         FRE 403; (3)
                                                                         Prejudice
                                                                         Outweighs


                                                    34
   Case 2:07-cv-08336-RGK-AFM Document 305 Filed 08/14/18 Page 37 of 37 Page ID
                                               #:13905
                               APPENDIX A: JOINT EXHIBIT LIST
             Ortega, et al. v. J.B. Hunt Transport, Inc., No. 07-CV-8336 RGK (AFMx)

Trial              Description                Bates Range /         If       Date    Date
 Ex.                                             Source        Objection,    ID’d   Admit.
 No.                                                              State
                                                                Grounds
                                                              Probative
                                                              Value FRE
                                                              403; (4)
                                                              Confusing or
                                                              Misleading
                                                              FRE 403;
                                                              and (5)
                                                              violates law
                                                              of the case
                                                              doctrine.




                                         35
